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                                                       December 1, 2021

        BYECF
        Hon. Ronnie Abrams
        United States District Judge
        Southern District of New York
        40 Foley Square
        New York, New York 10007

                   Re:     United States v. Bahadorifar, et al., 21 CR 430 (SDNY)

        Dear Judge Abrams:

                I am writing on behalf of defendant Niloufar Bahadorifar to respectfully request a
        modification of the defendant's conditions of release which would permit her to travel from her
        home in California to Nevada to visit with her sister from December 25 through December 27,
        2021. The government, by AUSA Matthew Hellman, takes no position on this request and
        Pretrial Services, by PTSO Alex Lee, has no objection. Should this application be approved by
        the Court, Ms. Bahadorifar will provide Pretrial Services with a detailed itinerary of her trip.

                 By way of background, on July 2, 2021, Your Honor released Ms. Bahadorifar on a
        $250K personal recognizance bond signed by the defendant and two financially responsible
        persons, with conditions of release including, inter alia, surrender of all travel documents and
        travel limited to the Central District of California and the Southern District of New York, and
        location monitoring and a curfew subject to the discretion of Pretrial Services. Since that date,
        the defendant has remained compliant with her conditions of release.
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JEFFREY LICHTMAN

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  United States District Judge
  December 1, 2021
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        Thank you for the Court's consideration on this application; I remain available for a
 teleconference should Your Honor deem it necessary.



                                      Respectfully submitted,



                                      Jeffrey llichtman


 cc:     Matthew Hellman, Esq.
         Jacob Gutwillig, Esq.
         Michael Lockard, Esq. (by ECF)
         Assistant United States Attorneys

         Alex Lee (by email)
         Pretrial Services



 So Ordered:



 Hon. Ronnie Abrams
 December 2, 2021
